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 2                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 3                                          AT TACOMA

 4
      UNITED STATES OF AMERICA,
 5
                     Plaintiff,
                                                                  Case No. CR06-5528FDB
 6
              v.
                                                                  ORDER GRANTING DEFENDANT
 7
      TIGRA ROBERTSON,                                            ROBERTSON’S MOTION TO
                                                                  EXCLUDE DEPOSITION
 8
                     Defendant.                                   EVIDENCE OF AARON FIGEL
 9
            Defendant moves to exclude the deposition evidence of Government witness Aaron Figel for
10
     the reason that the Court authorized the deposition based on the Government’s representation that
11
     Figel’s overseas deployment was imminent. That representation was found not to be true after the
12
     deposition was taken, although Defendant does not suggest malfeasance in the Government’s
13
     conduct. Defendant asks that the deposition testimony not be allowed, as there exist no “exceptional
14
     circumstances” for allowing such testimony.
15
            The Government responds, acknowledges that it was at fault, and states that the Government
16
     would not object if the Court were to exclude the deposition testimony as unnecessary, and that it
17
     would call Figel as a live witness if his testimony were required.
18
            Therefore, on the showing presented, the Defendant’s motion will be granted..
19
            ACCORDINGLY, IT IS ORDERED: Defendant Tigra Robertson’s Motion for Exclusion of
20
     the Deposition Evidence of Government Witness Aaron Figel [Dkt. # 233] is GRANTED.
21
            DATED this 25th day of July, 2007.



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24                                          FRANKLIN D. BURGESS
                                            UNITED STATES DISTRICT JUDGE
25

26   ORDER - 1
